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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

__________________________________________
In re:                                     :                  Chapter 7
                                           :
WESTLAKE PROPERTY HOLDINGS, LLC,           :                  Case No. 19-11756 (KBO)
                                           :
                  Debtor.                  :
__________________________________________:
                                           :
In re:                                     :                  Chapter 7
                                           :
PIPELINE – WESTLAKE HOSPITAL,              :                  Case No. 19-11757 (KBO)
LLC d/b/a DBA WESTLAKE HOSPITAL,           :
                                           :
                  Debtor.                  :
__________________________________________:

    DECLARATION OF JAMES EDWARDS IN SUPPORT OF FIRST DAY RELIEF

       I, James Edwards, hereby declare the following, under penalty of perjury:

       1.      I am an authorized signatory regarding the above-captioned bankruptcy cases. I am

Chief Executive Officer and member of SRC Hospital Investments II, LLC which is a sole

member and manager of debtor Pipeline – Westlake Hospital, LLC (“Westlake Opco”) and a

member of debtor Westlake Property Holdings, LLC (“Westlake Propco,” and collectively with

Westlake Opco, the “Debtors”). Except as otherwise indicated, all facts set forth in this declaration

are based upon my personal information, and my discussions with members of the Debtors’

management teams and advisors, my review of relevant documents and information concerning

the Debtors’ businesses and financial affairs. I am authorized to submit this declaration on behalf

of the Debtors and, if called as a witness, I would testify competently to the facts set forth in this

declaration.

       2.      I am generally familiar with the Debtors’ day-to-day operations, business and

financial affairs, and books and records. I submit this declaration to assist the Court and the
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parties-in-interest in understanding the circumstances that led to the commencement of these

Chapter 7 cases and in support of the Debtors’ petition for relief under title 11 of the United States

Code filed on the date hereof (the “Petition Date”) and the relief that the Debtors have requested

from the Court pursuant to the motions and applications described herein.

       3.      The Debtors’ business both relate to Westlake Hospital, a healthcare facility located

in Melrose Park, Illinois (the “Hospital”). Specifically, Westlake Propco is the owner of the real

property and equipment for the Hospital, and Westlake Opco is the operating company. Westlake

Propco and Westlake Opco are both Delaware limited liability companies.

       4.      The Hospital is a 230 bed facility that, among other things, provides a variety of

medical services, including emergency services, behavioral health, cardiac care, imaging and

radiology, pulmonology, critical care, surgery, and obstetrics/gynecology.

       5.      On December 31, 2018, SRC Hospital Investments II, LLC (“SRC”) entered into

an agreement to purchase the Hospital and two other hospitals in the greater Chicago metropolitan

area, Louis A. Weiss Memorial Hospital (“Weiss Hospital”) and West Suburban Medical Center

(“West Suburban Hospital”). The transaction closed on January 28, 2019. An organizational chart

for SRC, a Delaware limited liability company and the parent company of the Debtors and the

related entities pertaining to Weiss Hospital and West Suburban Hospital, is attached hereto as

Exhibit A. In connection with the sale, VHS of Illinois, Inc., received a security interest in

Westlake Propco’s real estate and equipment. Notably, the seller did not not have a security

interest in the Debtors’ accounts receivable or bank accounts, both of which are unencumbered by

any security interest.

       6.      Prior to the purchase of the three hospitals, SRC had evaluated the financials of the

Hospital’s income and expenses based upon the twelve-month period ending June 2018. As a


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general proposition, the financial state of hospitals are in significant disarray that continues to

negatively affect the economic feasibility of both large and small hospitals. The Affordable Care

Act, Illinois’ introduction of Medicaid managed care and advances in medicine have changed how

and where healthcare is provided. It has also changed the economics and incentivized keeping

patients out of hospitals. In the particular case of Westlake Hospital, its finances were dealt a

second and third blow by recent changes at the state and local levels. In 2018, the Illinois state

legislature made changes to the Illinois Health Assessment Payments & Charity Care Tax Credit

Program (the “Hospital Assessment Program”) and as a result, Westlake lost approximately $4

million in annual state funding. of approximately $4 million in annual state funding. To make

matters worse, in December 2018, the Village of Melrose Park (the “Village”) voted unanimously

in a special meeting to withdraw $500,000 of support for the Hospital’s redevelopment plan.

       7.      During the twelve-month period ending June 2018, the three hospitals had lost a

total of approximately $12 million. The majority of those losses came from Westlake Hospital.

By the end of the year, that loss had increased to approximately $31 million across all three

hospitals, with the overwhelming majority of that loss coming from Westlake.

       8.      By February 2019, the Hospital’s financials turned from bad to worse. In February

2019, less than half of the Hospital’s beds were occupied, and the Hospital was losing more than

$1 million a month. Meanwhile, the staffing at the hospital suffered significant attrition, to the

point where the Hospital no longer felt comfortable that it could continue to provide the level of

care necessary for patient safety. In addition to the issue of ensuring safe levels of care, the

continued losses by Westlake also imperiled the survival of Weiss Hospital and West Suburban

Hospital.




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       A.      Request to Discontinue Services and Subsequent Litigation

       9.      On February 21, 2019, the Hospital filed a discontinuation certificate of exemption

application (the “Discontinuation Application”) which sought the approval of the Illinois Health

Facilities and Services Review Board (the “Illinois Board”) to permit the closing of the Hospital.

Within a few days of the submission of the Discontinuation Application, the Board deemed it

complete and scheduled it for the Illinois Board’s April 30, 2019 meeting.

       10.     On March 7, 2019, while the Discontinuation Application was pending for a

hearing, the Village filed a Complaint in the Circuit Court of Cook County, Illinois (Case No. 19-

CH 03041) against Westlake Opco, SRC, and other parties asserting a variety of claims based on

allegations of fraud arising from the Illinois Board’s approval of Westlake Opco’s certification

submitted in connection with the sale and transfer of the Hospital.

       11.     Between February and April 2019, approximately 45 staff members resigned from

their positions at the Hospital. As a result, the Hospital was required to rely upon temporary

staffing, rather than the Hospital’s own staff. Meanwhile, the Hospital continued to lose more

money each month. In April 2019, the Hospital lost approximately $2.3 million, as less than thirty

percent (30%) of the Hospital’s beds were filled.

       12.     On the morning of April 9, 2019, the Hospital provided a notice to its employees

pursuant to the Workers Adjustment and Retraining Notification Act of 1988 (the WARN Act).

Pursuant to the terms of the WARN Act, such notice is effective through August 21, 2019.

       13.     In the afternoon of April 9, 2019, the Cook County Circuit Court (in Case No. 19-

CH 03041) entered an Order temporarily enjoining the Hospital from discontinuing any medical

service offered by Hospital on April 9, 2019, or modifying the scope of medical service that were




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offered by Westlake Hospital on April 9, 2019, until such time as Defendants receive approval to

do so from the Illinois Board.

       14.     On April 18, 2019, the Appellate Court of Illinois, First District, concluded that the

circuit court erred by entering a temporary restraining order where the plaintiff, the Village, lacked

standing and promptly reversed that order and remanded to the Circuit Court for further

proceedings. The Village’s petition for leave to appeal the Illinois Appellate Court’s decision is

currently pending before the Illinois Supreme Court. The Illinois Appellate Court promptly

reversed that order, and the Village’s petition for leave to appeal the Illinois Appellate Court’s

decision is currently pending before the Illinois Supreme Court.

       15.     On April 30, 2019, the Illinois Board conducted its hearing to consider the

Discontinuation Application, considered the application on its merits, and unanimously approved

the Discontinuation Application.

       16.     On May 2, 2019, the Village filed a second lawsuit which appeal to the Illinois

Board’s decision in the Circuit Court of Cook County, Illinois County Department – Chancery

Division against Westlake Opco, SRC, and the Illinois Board (Case No. 19-CH-05553), by and

through which it again sought injunctive relief to prevent the Hospital from closing. This action

was subsequently joined by the Illinois State Attorney of Cook County. On May 3, 2019, the

Circuit Court of Cook County entered a temporary restraining order that precluded the Hospital

from closing pending a further hearing on May 7, 2019. On May 7, 2019, notwithstanding the

Illinois Board’s unanimous approval of the Discontinuation Application, the Circuit Court entered

an opinion and order that, among other things, precluded the defendants from discontinuing any

medical service offered by Westlake Hospital on April 30, 2019 or modifying the scope of those

services, or creating conditions that would change the status quo, including failing to maintain



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facilities staffing or supply levels. Westlake Opco and SRC timely filed their Notice of

Interlocutory Appeal one day later on May 8, 2019, as subsequently amended, which remains

pending in the Appellate Court of Illinois, First District at Case No. 1-19-0989.

         17.       Meanwhile, the financial losses at Westlake continued to become more significant,

and the prospect of remaining open grew more dire. In May 2019, the Hospital lost approximately

$2.5 million. In July 2019, the Hospital had less than 20% of its beds occupied at any given time,

and the Debtors anticipate that the Hospital may have lost as much as almost $2.7 million during

the month of July.

         18.      As of August 1, 2019, the Hospital had just forty (40) patients, fourteen of whom

were seeking behavioral health services, with the remaining patients seeking medical or surgical

services. All of these patients could be safely transferred to another facility, including any of the

three medical facilities within four miles of the Hospital.1

         19.      As a matter of economics, the Hospital was nearly empty with a staff that could not

be downsized due to the injunctive order of the state court. Further, the Hospital had attempted to

find a purchaser who would buy the Hospital as a going-concern. The Debtors were contacted by

a number of parties who said that they were interested in potentially acquiring the Hospital,

however on August 1, 2019, the Debtors were informed by the last of the interested parties that he

could not pursue the transaction because of a lack of financing.

         20.      Accordingly, the Debtors had no choice but to seek Chapter 7 bankruptcy relief.

Absent such relief, the Debtors would be required to stay open, but financially unable to pay their



1
         These three medical facilities are (i), Loyola University Medical Center, a quaternary care facility with 547
licensed beds, and which with a Level I trauma center, located in Maywood, IL; (ii) Gottlieb Memorial Hospital, a
254-licensed bed acute care hospital with a Level II trauma center located in Melrose Park, IL; and (iii) West Suburban
Medical Center, a full-service, 234-bed hospital in Oak Park, IL.



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obligations to their creditors, including their employees. The Hospital believed that, under such

conditions, it would only be a matter of time until patient safety was compromised to the point of

injury (or worse) to one of the Hospital’s patients.

         B.       The Debtors’ Operations and Employees

         21.      As of August 2, 2019, the Debtors employed approximately 550 employees (the

“Employees”),2 not including contracted labor who provide services in shifts. The employees

include administrative staff, medical records and health information management, security,

transportation services, plant operation and maintenance workers, physical and operational

therapists, respiratory therapists, behavioral and psychiatric service providers, pharmacists,

laboratory technicians, radiology and electrocardiology technicians and of course, the nursing

staff.

         22.      The Hospital’s nurses can best be fit into one of the following categories: (i) staff

nurses, who are full-time employees of the Hospital, and who are familiar with the Hospital, its

medical staff, its procedures, and its electronic medical records system, (ii) per diem nurses, who

have no right or obligation to work for the Hospital, but who are included as employees and may

do shift work for the Hospital at the parties’ mutual convenience and need, and (iii) contracted

agency staff who are employed on a shift-by-shift basis through an outside agency. As a general

matter, because of their lack of familiarity with the Hospital and its practices and procedure,

contracted agency staff require a higher level of supervision than either the staff nurses or the per

diem nurses, particularly because the Hospital does not necessarily know the contracted agency

staff nurses’ level of competency, particularly with respect to those services for which they may


2
        All of the Employees are employed by Westlake Hospital. Further, some of the Employees are also
employees shared by the Hospital with either West Suburban Hospital or Weiss Memorial Hospital, and those
Employees who work for multiple entities are paid either in whole or in part by the Hospital, or by the other hospital
for which the Employee works.



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be placed for a particular shift. Unfortunately, based upon the attrition of staff nurses and the

inability of the Hospital to attract new, qualified nurses to take their place, the Hospital is now

staffed with a significant number of contract nurses.

        23.      As noted above, on the morning of April 9, 2019, the Hospital issued WARN

notices to each of its employees. That notice remains effective through August 21, 2019.

        24.      The Employees were last paid on August 2, 2019. The current pay period for the

Employees runs from July 28 through August 10, 2019, which is due to be paid on August 16,

2019.3 Accordingly, as of the Petition Date, the Debtors are obligated to remit payment on account

of nine (9) days of prepetition wages and related expenses, including payroll taxes, and

withholding contributions (the “Prepetition Employee Obligations”),4 totaling approximately

$731,250 on August 10, 2019.

        C.       Operations of the Hospital and Intercompany Obligations

        25.      West Suburban Hospital, Weiss Hospital, and Westlake Hospital share certain costs

and obligations, including obligations to doctors and staff who serve at two or more of the

hospitals. As a matter of ordinary course of business of the three hospitals, West Suburban

Hospital would receive services provided by the employees of Westlake Hospital, and the hospitals

would maintain records of obligations among themselves.

        26.      Prior to the Petition Date, West Suburban Hospital was obligated to Westlake Opco

in the amount of approximately $850,000 for obligations incurred in the ordinary course of the

parties, including among other things, shared personnel. The obligations from West Suburban



3
          Such amounts would need to be funded through Automatic Data Processing (ADP) by August 13, 2019, in
order to timely remit payment to the Employees.
4
         The Debtors are not, by the Motion to Operate (filed contemporaneously herewith), seeking to authorize the
payment of paid time off, or other benefits owed to Employees. The failure to include such amounts is without
prejudice to the Chapter 7 Trustee’s right to subsequently seek such relief.



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